

Schachtler Stone Prods., LLC v Town of Marshall (2022 NY Slip Op 05654)





Schachtler Stone Prods., LLC v Town of Marshall


2022 NY Slip Op 05654


Decided on October 7, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 7, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, PERADOTTO, LINDLEY, AND NEMOYER, JJ.


752 CA 21-01155

[*1]SCHACHTLER STONE PRODUCTS, LLC, SCHACHTLER FAMILY TRUST, ERIC T. SCHACHTLER, AND PJK PROPERTIES, LLC, PLAINTIFFS-PETITIONERS-RESPONDENTS,
vTOWN OF MARSHALL, TOWN BOARD OF TOWN OF MARSHALL, ZONING BOARD OF APPEALS OF TOWN OF MARSHALL, AND CODE ENFORCEMENT OFFICER DANIEL J. FORD, DEFENDANTS-RESPONDENTS-APPELLANTS. (APPEAL NO. 3.) 






ROSSI &amp; ROSSI, NEW YORK MILLS (VINCENT J. ROSSI, JR., OF COUNSEL), FOR DEFENDANTS-RESPONDENTS-APPELLANTS. 
BROWN, DUKE &amp; FOGEL, P.C., SYRACUSE (MICHAEL A. FOGEL OF COUNSEL), FOR PLAINTIFFS-PETITIONERS-RESPONDENTS.


	Appeal from an order of the Supreme Court, Oneida County (Bernadette T. Clark, J.), entered July 20, 2021. The order, among other things, denied defendants-respondents' motion for leave to reargue and renew their opposition to the amended complaint-petition. 
It is hereby ORDERED that said appeal from the order insofar as it denied leave to reargue is unanimously dismissed and the order is affirmed without costs.
Same memorandum as in Schachtler Stone Prods., LLC v Town of Marshall ([appeal No. 1] — AD3d — [Oct. 7, 2022] [4th Dept 2022]).
Entered: October 7, 2022
Ann Dillon Flynn
Clerk of the Court








